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IMPROVEMENTS PAYMENTS
   Date        Amount             Purpose                                                  Notes
   4/5/2022    $20,484.15 Security Install     In AEP Bank Statement, in Ostrander injunction suit exhibits, $8,246.47 is for "Main
                                               House"
  4/22/2022    $14,000.00 Arroyos Remodeling   In AEP Bank Statement
  5/12/2022    $18,450.00 Arroyos Remodeling   in bulk ACH, see ledger
   6/1/2022    $16,500.00 Arroyos Remodeling   in bulk ACH, see ledger
   6/7/2022    $28,337.00 Arroyos Remodeling   in bulk ACH, see ledger
  6/14/2022    $20,094.20 Arroyos Remodeling   ACH, see ledger, see Arroyos Invoice 63 (it's the advance payment, house stuff)
  6/21/2022    $29,755.00 Arroyos Remodeling   ACH, see ledger, see Arroyos Invoice 62 (it's the advance payment, house stuff)
  6/23/2022    $34,155.80 Arroyos Remodeling   in bulk ACH, see ledger
  7/11/2022    $44,492.00 Arroyos Remodeling   in bulk ACH, see ledger
   8/1/2022    $39,700.00 Arroyos Remodeling   ACH, see ledger, see Arroyos Invoices 66 & 67 (it's the total of these 2, house stuff)
  8/24/2022    $43,150.00 Arroyos Remodeling   ACH, see ledger, see Arroyos Invoice 68 (all house stuff)
  9/16/2022    $60,925.00 Arroyos Remodeling   ACH, see ledger, see Arroyos Invoices 69, 70, & 71 (it's the total of these 3, house stuff)

  10/3/2022    $44,796.00 Arroyos Remodeling   in bulk ACH, see ledger
10/20/2022     $26,403.00 Arroyos Remodeling   in bulk ACH, see ledger
12/20/2022      $2,150.00 Arroyos Remodeling   in bulk ACH, see ledger
Total         $443,392.15
